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   Oath of Arbitrator

   The Oath of Arbitrator is executed by every arbitrator and returned to FINRA Office of Dispute
   Resolution before the arbitrator makes any decision or attends a hearing. As part of the Oath, you
   are required to review three documents: the Temporary and Permanent Arbitrator Disqualification
   Criteria; the Arbitrator Disclosure Checklist; and your Arbitrator Disclosure Report.


   FINRA Dispute Resolution

   In the Matter of the Arbitration Between                        Case Number:



                                           Claimant(s)
           vs.



                                 Respondent(s)
   ________________________________________________

   Having been selected as an arbitrator to consider the matter in controversy between the
   above-captioned parties:

   I affirm my duty under the AAA/ABA Code of Ethics for Arbitrators in Commercial Disputes to keep
   confidential all matters relating to the above-referenced arbitration proceeding and decision,
   including but not limited to any information, documents, evidence, or testimony presented. My
   duty is continuous and does not cease at the conclusion of the arbitration or upon my withdrawal
   as an arbitrator.

   I affirm that I am not an employer of, employed by, or related by blood or marriage to any of the
   parties, counsel, or witnesses whose names have been disclosed to me; that I have no direct or
   indirect interest in this matter; I know of no existing or past financial, business, professional, family
   or social relationship which would impair me from performing my duties; and that I will decide the
   controversy in a fair manner and render a just award.

   I have carefully read, reviewed, and considered FINRA Dispute Resolution’s Temporary and
   Permanent Arbitrator Disqualification Criteria. I affirm that, based on the criteria, I am not
   temporarily or permanently disqualified from being a FINRA arbitrator.




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   Please answer questions one and two below:

       1. I have reviewed and completed the Arbitrator Disclosure Checklist enclosed, and certify
          that (check one):

           _____ I have nothing additional to disclose.

           _____ I made disclosures on the Arbitrator Disclosure Checklist.

       2. I have carefully read, reviewed, and considered my Arbitrator Disclosure Report and certify
          that (check one):

           _____ I have nothing additional to disclose. My Arbitrator Disclosure Report is accurate
                 and complete.

           _____ I have noted changes or corrections on the attached Arbitrator Disclosure Report.

           ____     I have submitted changes through the DR Portal.

   I understand that I am an independent contractor, not an employee of FINRA. I am not eligible to
   receive any unemployment benefits or any FINRA employee benefits.


   _______________________________________________________
   Arbitrator’s Signature
   Sign by entering "/s/", followed by your first name, middle initial, and last name (e.g., /s/ Jane Q. Public)


   _______________________________________________________
   Date




   July 2018




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   Case Number:

   Arbitrator Name:


   ARBITRATOR DISCLOSURE CHECKLIST

   The obligation to disclose interests, relationships, or circumstances that might preclude
   an arbitrator from rendering an objective and impartial determination is a continuing
   duty. The duty requires an arbitrator who accepts appointment to an arbitration
   proceeding to disclose, at any stage of the proceeding, any such interests,
   relationships, or circumstances that arise or are recalled or discovered.

   The Arbitrator Disclosure Checklist is sent to the arbitrators as part of the Oath of
   Arbitrator. It not only provides a reminder to the arbitrators to consider all possible
   disclosures, but also requires a complete explanation of any possible conflict to the
   parties.

   The questions on the Checklist are intended to help you comply with the disclosure
   requirements as stated in FINRA Rule 12405 of the Customer Code and Rule 13408 of the
   Industry Code (collectively referred to as Codes). These rules require arbitrators to disclose:

      1. any direct or indirect financial or personal interest in the outcome of the arbitration;

      2. any existing or past financial, business, professional, family, social, or other relationships
         or circumstances with any party, any party’s representative, or anyone who the arbitrator
         is told may be a witness in the proceeding, that are likely to affect impartiality or might
         reasonably create an appearance of partiality or bias;

      3. any such relationship or circumstances involving members of the arbitrator’s family or
         the arbitrator’s current employers, partners, or business associates; and

      4. any existing or past service as a mediator for any of the parties in the case for which the
         arbitrator was selected.

   Please answer each question by checking the appropriate box. Please check “yes” or
   “no” to each question. Provide a full explanation to any question(s) to which you
   provided a “yes” response. The Oath and the entire Checklist will be sent to the parties.

   When completing the Checklist, it is essential to make a reasonable and good faith effort
   to determine whether you have any relationships with the parties and/or attorneys in the
   dispute and to make any necessary disclosures. In addition to relationships, it is
   advisable to disclose any life experience that may raise any doubt about your ability to
   be impartial. Any doubts should be resolved in favor of making the disclosure.




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   I.       Personal Disclosures

   In this series of questions, we are seeking information about your personal and/or professional
   relationships with any of the parties, counsel, or arbitrators in this arbitration, no matter how
   remote the relationship might seem.

         1. Have you had any professional, social, or other relationships or interactions with counsel
            for any of the parties in this arbitration or their law firms?

            O Yes                  O No                          O Already on Disclosure Report

         2. Have you had any professional, social, or other relationships or interactions with any of
            the parties or their employers in the arbitration?

            O Yes                  O No                          O Already on Disclosure Report

         3. Have you had any professional, social, or other relationships or interactions with any
            relative of any of the parties or counsel in the arbitration?

            O Yes                  O No                          O Already on Disclosure Report

         4. Have you had any professional, social, or other relationships or interactions with any of
            the other arbitrators assigned to the arbitration?

            O Yes                  O No                          O Already on Disclosure Report

         5. Are you presently serving as an arbitrator in another proceeding involving any of the
            parties or counsel in this arbitration or their employers?

            O Yes                  O No                          O Already on Disclosure Report

   II.      Financial Disclosures

   In this series of questions, we are seeking information about any financial relationships you may
   have/had with any of the parties in this arbitration or their related entities. We are also seeking
   any facts related to your financial circumstances that may affect a party’s perception of
   impartiality.

         1. Have you, your spouse, or an immediate family1 member maintained a securities
            account (including accounts such as a 529 education savings plan), whether individually,
            jointly or beneficially, with any broker-dealer2 named in the arbitration? Or with any
            broker-dealer affiliated with the firm or firms named in the arbitration?

            O Yes                  O No                          O Already on Disclosure Report




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          2. Do you, your spouse, or an immediate family member currently have a non-securities
             related account (e.g., checking or savings accounts or loans) with a party to this
             arbitration or with an entity that is affiliated with that party? For example, in recent years
             some banks have acquired broker-dealers and may be the parent of the broker-dealer
             firm that is a party in this case.

             O Yes                   O No                            O Already on Disclosure Report

          3. Have you ever declared personal bankruptcy?

             O Yes                   O No                            O Already on Disclosure Report

          4. Have you ever been a principal of a company that has declared bankruptcy?

             O Yes                   O No                            O Already on Disclosure Report

          5. Have you ever had any judgments or liens against you? If Yes, please provide the
             current status.

             O Yes                   O No                            O Already on Disclosure Report

          6. Has any lender ever instituted foreclosure proceedings involving you or a property
             owned in whole or in part by you directly or indirectly? If Yes, please provide the current
             status.

             O Yes                   O No                            O Already on Disclosure Report

   III.      Disclosures About the Subject of This Case

   In this series of questions, we are seeking information about any experience (specific or
   general) you may have/had with the subject matter of the arbitration.

          1. Have you formed an opinion, positive or negative, about any of the parties, their counsel
             or the subject matter of the arbitration?

             O Yes                   O No

          2. Have you, your spouse, or an immediate family member invested in or held any of the
             securities that are the subject of the arbitration?

             O Yes                   O No                            O Already on Disclosure Report

          3. To the extent you have knowledge, has a close social acquaintance or business
             associate invested in or held any of the securities that are the subject of the arbitration?

             O Yes                   O No                            O Already on Disclosure Report




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         4.
               A. Have you, your spouse, or an immediate family member been involved in a dispute
                  involving the same or similar subject matter as the arbitration?

                  O Yes              O No                          O Already on Disclosure Report

               B. Did the dispute assert any of the same allegations or causes of action as the
                  assigned arbitration, even if the dispute was not securities-related?

                  O Yes           O No           O Already on Disclosure Report            O N/A
         5.
               A. To the extent you have knowledge, has a close social acquaintance or business
                  associate been involved in a dispute involving the same or similar subject matter as
                  the arbitration?

                  O Yes              O No                          O Already on Disclosure Report

               B. Did the dispute assert any of the same allegations or causes of action as the
                  assigned arbitration, even if the dispute was not securities-related?

                  O Yes           O No           O Already on Disclosure Report            O N/A

          6.     Are you presently serving as an arbitrator in another proceeding involving any of the
                same or related products at issue in this arbitration?

                  O Yes              O No

   IV.         Disclosures About the Parties in This Case

   In this series of questions, we are seeking information about any legal involvement you may
   have/had with any of the parties or counsel in this arbitration.

         1. Do you presently represent any person or entity in a matter involving any of the parties
            or counsel to the arbitration?

               O Yes                 O No                          O Already on Disclosure Report

         2. Have you represented any person or entity in a matter involving any of the parties or
            counsel to the arbitration?

               O Yes                 O No                          O Already on Disclosure Report

         3. Have you ever been retained, as an expert or otherwise, to assist any party or counsel in
            another proceeding involving any of the parties or counsel to the arbitration?

               O Yes                 O No                          O Already on Disclosure Report




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        4. Have you been involved in a proceeding in which any of the named parties gave
           testimony?

           O Yes                  O No                           O Already on Disclosure Report

   V.      Disclosure About Legal Proceedings

   In this series of questions, you must disclose all relevant complaints, lawsuits, or arbitration
   claims, even if they were later expunged from the Central Registration Depository (CRD)3
   system.

        1. Do you, your spouse, or an immediate family member presently represent a broker-
           dealer or a registered representative?

           O Yes                  O No                           O Already on Disclosure Report

        2. Do you, your spouse, or an immediate family member presently represent an investor in
           any securities-related dispute?

           O Yes                  O No                           O Already on Disclosure Report

        3. Have you, your spouse, or an immediate family member ever represented a broker-
           dealer or registered representative?

           O Yes                  O No                           O Already on Disclosure Report

        4. Have you, your spouse, or an immediate family member ever represented an investor in
           a securities-related dispute?

           O Yes                  O No                           O Already on Disclosure Report

        5. Have you, your spouse, or an immediate family member ever named a broker-dealer or
           registered representative, or been named by a broker-dealer or registered representative
           in any securities-related dispute?

           O Yes                  O No                           O Already on Disclosure Report

        6. To the extent you have knowledge, have any of your relatives, other than your spouse or
           an immediate family member, named a broker-dealer or registered representative, or
           been named by a broker-dealer or registered representative, in any securities-related
           dispute?

           O Yes                  O No                           O Already on Disclosure Report

        7. Have you ever been named as a party by an investor in any securities-related dispute?

           O Yes                  O No                           O Already on Disclosure Report




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          8. Has your alleged misconduct been an issue in any litigation, arbitration, criminal action,
             administrative proceedings, etc. (other than a proceeding in which you served as an
             arbitrator), even if you were not a named party to the proceeding? For example, if your
             conduct as a registered representative or manager was an issue in a case, but only the
             broker-dealer was named as a party, your response should be “yes.”

             O Yes                  O No                           O Already on Disclosure Report

          9. Do you have any disclosures on your record with the CRD system that are not reflected
             on your Disclosure Report?

             O Yes                  O No                           O Already on Disclosure Report

          10. If you answered “yes” to questions 5, 6, 7, or 8, was the information expunged from the
              CRD system pursuant to FINRA Rule 2080?

             O Yes                  O No              O Already on Disclosure Report        O N/A

   VI.       Criminal Disclosures

   This question is seeking information about any criminal disclosures. This question is not limited
   to securities-related events.

          1. Have you ever been charged, convicted of, pled guilty to or no contest to a misdemeanor
             or felony?

             O Yes                  O No                           O Already on Disclosure Report

   VII.      Professional Organizations and License Disclosures

   In this series of questions, we are seeking information about any professional memberships
   and/or licenses you may have/had, whether or not they are securities-related.

          1. Are you a member of any securities-related organization (e.g., Securities Industry and
             Financial Markets Association) or organization of attorneys who represent investors
             against broker-dealers (e.g., Public Investors Arbitration Bar Association)?

             O Yes                  O No                           O Already on Disclosure Report

          2. Are you a member of any professional organization that is not listed on your Disclosure
             Report?

             O Yes                  O No                           O Already on Disclosure Report

          3. Do you hold any professional licenses (e.g., in law, accounting, securities, etc.) that are
             not disclosed on your Disclosure Report?

             O Yes                  O No                           O Already on Disclosure Report




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       4. Have any of your professional licenses lapsed (i.e., are not current)?

          O Yes                   O No                            O Already on Disclosure Report
       5. Has any professional entity or body with licensing authority cited you for malpractice;
          denied, suspended, barred, or revoked your registration or license (e.g., insurance, real
          estate, securities, legal, medical, etc.); or otherwise disciplined you; or restricted your
          activities in any way?

           O Yes                 O No                           O Already on Disclosure Report

   VIII.   Arbitrator Classification Disclosures

   FINRA classifies arbitrators as “Public” or “Non-Public” under Code of Arbitration Procedure
   Rule 12100 based on their professional experience, the nature of their employer’s work, and
   their immediate family members’ professional experience.3 The following questions allow FINRA
   to correctly classify you based on these factors.

   Your Professional Experience

       1. Are you, or were you ever, associated with, including employed by, or registered
          through, under, or with (as applicable):

              a. a broker or a dealer (including a government securities broker or dealer or a
                 municipal securities dealer or dealer)?

                   O Yes         O No

              b. the Commodity Exchange Act or the Commodities Future Trading Commission,
                 or a member of the National Futures Association or the Municipal Securities
                 Rulemaking Board?

                   O Yes         O No

              c. an entity that is organized under or registered pursuant to the Securities
                 Exchange Act of 1934, Investment Company Act of 1940, or the Investment
                 Advisers Act of 1940?

                   O Yes         O No

              d. a mutual fund or a hedge fund?
                 O Yes         O No

              e. an investment adviser?

                   O Yes         O No

       2. Professional Time Devoted to Entities/Persons Engaged in the Securities Industry

              a. Are you an attorney, accountant, or other professional who has, within the past
                 five years, devoted 20 percent or more of your professional time, in any single


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                calendar year, to any entities listed in question (1) above and/or any persons or
                entities associated with any of the entities listed in question (1) above?

                O Yes            O No
             b. As an attorney, accountant, or other professional, did you, for a total of 15 years
                or more devote 20 percent or more of your professional time annually to any
                entities listed in question (1) above and/or any persons or entities associated with
                any of the entities listed in question (1) above?

                O Yes           O No

      3. Professional Time Devoted to Parties in Disputes

             a. Are you an attorney, accountant, expert witness or other professional who has,
                within the past five years, devoted 20 percent or more of your professional time,
                in any single calendar year, to representing or providing services to parties in
                disputes concerning investment accounts or transactions, or employment
                relationships within the financial industry?

                O Yes           O No

             b. As an attorney, accountant, or other professional, did you, for a total of 15 years
                or more, devote 20 percent or more of your professional time annually to
                representing or providing services to parties in disputes concerning investment
                accounts or transactions, or employment relationships within the financial
                industry?

                O Yes           O No

      4. Professional Time in Banks and Financial Institutions

             a. Are you, or were you within the past five years, an employee of a bank or other
                financial institution who effects transactions in securities, including government or
                municipal securities, commodities, futures or options or supervises or monitors
                the compliance with the securities and commodities laws of employees who
                engage in such activities? (“Who” refers to you, not the institution.)

                O Yes           O No

             b. Were you, for a total of 15 years or more, an employee of a bank or other
                financial institution who effects transactions in securities, including government or
                municipal securities, commodities, futures or options or supervises or monitors
                the compliance with the securities and commodities laws of employees who
                engage in such activities?

                O Yes           O No




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       5. Are you, or were you within the last five years, employed by, or a director or officer of,
          an entity that directly or indirectly controls, is controlled by, or is under common control
          with, any partnership, corporation, or other organization that is engaged in the financial
          industry?

          O Yes           O No

    Your Employer’s Work

       6. Are you, or were you within the last two years, an attorney, accountant, or other
          professional whose firm derived $50,000 or more, or at least 10 percent of its annual
          revenue, in any single calendar year during the course of the past two calendar years,
          from any entities listed in question (1) above and/or any persons or entities associated
          with any of the entities listed in question (1) above, or from a bank or other financial
          institution where persons effect transactions in securities, including government and
          municipal securities, commodities, futures or options?

          O Yes           O No

       7. Are you, or were you within the last two years, an attorney, accountant, or other
          professional whose firm derived $50,000 or more, or at least 10 percent of its annual
          revenue, in any single calendar year during the course of the past two calendar years,
          from individual and/or institutional investors relating to securities matters?

          O Yes           O No

    Your Immediate Family Members’ Professional Experience

       8. FINRA will not allow you to serve as a public arbitrator if your immediate family member
          would not be permitted to serve as a public arbitrator. Please go back and look at
          questions 1-7 and answer them from the point of view of your immediate family
          members. If you answer “yes” to any of the questions, then you may not serve as a
          public arbitrator unless you ended the relationship with the family member at least two
          years ago or the family member ended the affiliation that caused the “yes” response to
          any question. If you believe the answer for your immediate family member might be
          “yes,” please describe the relationship with the immediate family member and the family
          member’s affiliation in the space provided at the end of this form. For the purposes of
          your response, an immediate family member is:
              Your spouse, partner in a civil union, domestic partner, parent, stepparent, child,
                  or stepchild;
              a member of your household;
              an individual to whom you provide financial support of more than 50 percent of
                  his or her annual income; or
              a person you claim as a dependent for federal income tax purposes.

              O Yes               O No




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    IX.      Other Disclosures

          1. Have you ever been a party to a non-investment related lawsuit?

             O Yes                  O No                          O Already on Disclosure Report

          2. Have you been published in any medium (e.g., magazine articles, journals, blogs, Twitter
             feeds, etc.)?

             O Yes                  O No                          O Already on Disclosure Report

          3. Do you have any other disclosures that are not specifically covered in the above
             questions?

             O Yes                  O No

    You must provide an explanation for any "yes" answers to the above questions. If needed,
    please use the attached pages.

    Please contact your assigned staff member if you have any questions about the above Oath or
    Checklist. Remember that your duty to disclose is continuous and imperative, and when in
    doubt, you should always err on the side of disclosure.

    You may submit your completed Oath and Checklist through the DR Portal. After completing the
    Oath and Checklist, please save the document as a PDF on your computer. In the portal, select
    the case and click on the “Submit Documents” button. Select the “Add Document” button and
    attach your Oath and Checklist to submit to FINRA through the portal. You may confirm your
    submission under the “Drafts and Submissions” tab.

    Case Number:

    ____________________________________________________________________________
    Arbitrator’s Signature
    Sign by entering "/s/", followed by your first name, middle initial, and last name (e.g., /s/ Jane Q.
    Public)


    Date:




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                                                  Endnotes


    1. For purposes of this rule, the term immediate family member means:

       (A) a person's spouse, partner in a civil union, domestic partner, parent, stepparent, child, or
       stepchild;
       (B) a member of a person's household;
       (C) an individual to whom a person provides financial support of more than 50 percent of his
       or her annual income; or
       (D) a person who is claimed as a dependent for federal income tax purposes.

    2. A broker-dealer is a person or company that is in the business of buying and selling
       securities—stocks, bonds, mutual funds, and certain other investment products—on behalf
       of its customers (as broker), for its own account (as dealer), or both. Individuals who work
       for broker-dealers—the sales personnel whom most people call brokers—are technically
       known as registered representatives.

    3. CRD is an automated, electronic web-based system, which FINRA uses to maintain the
       qualification, employment and disclosure histories of member firms' registered securities
       employees.




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    Additional Pages to Provide Explanations




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    Additional Pages to Provide Explanations




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